12/28/17                               UNITED STATES BANKRUPTCY COURT
                                                District of Oregon
In re                                                    )
 Michael Richard Krueger                                 ) Case No. 17-33027-pcml3
 Mary Kathleen Krueger                                   )
                                                         ) CHAPTER 13 CONFIRMATION
Debtor(s)           ~ ~CU:~          (4'c\~ KYVqe<) ) WORKSHEET
       Attorney: RICHARD J PARKER ( ~ 'J'.'..cV~                      Trustee: Wayne Godare
       Present: Debtor () Jt. Debtor () A,tto,.sney )                Conf. Hrg Date/Time: 12/28/2017 01 :30 PM
       Creditors In Attendance:   --~.,___,\?o,:__:ft,=-=--'-"-'=--='---"........:..~:....,),c_______________

  _ _Dismiss Since: _ _(1) Payments Not Received by Trustee _ _(2) Domestic Support Obligations Not Current
    _ _ (3) Trustee OBJ. TO CONF.; OR _ _(4) Grant Motion to Dismiss from _ _ _ _ _ _ _ __
  _ _Enter Confirmation Order: _ _ Subject to Objections W/In _ _ Days By _ _ _ _ _ _ _ _ __
           Enter OCP Order ___ Fee Reduction       Send Letter
  _ _Enter Order: Denying Confirm _ _ Days to File Amended Plan
     Reason: _ _ ( 1) Unable to Comply ___ (2) More Than 36/60 Mo. _ _ (3) Debtor wants to File Amended Plan
    (4) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  - -Enter Order re Tax Returns Owed:- - IRS                 ODR         OTHER: _ _ _ _ _ _ __
     Returns Due Within _ _ Days
  __):nter Service Order         Fee Reduction         Send Letter
  _VA
    _ Adjourn Confirmation Hearing: /        Notice given in Ct.; QR Notify ___ (1) All Interested Parties:

     Date, etc: ~
  Objecting Creditor:
                       H @ \',      ,o
     or _ _ (2) De to , Attorney, Trustee, Objecting Creditors and _ _ _ _ _ __
                      e                  Evidentiary _ _ Hours - - Bend: - -


           Value:         D             C            Feasibility: _ _ Good Faith: - -
                          D             C            Failure to Make Postpetition Payments: _ _
           Int
                          D             C            Failure to Assume or Reject Executory Contract: _ _
           Rate:



  Objecting Creditor:   l~§W[
           Value:         D             C            Feasibility: _ _ Good Faith: _ _
                          D             C            Failure to Make Postpetition Payments: _ _
           Int
                          D             C            Failure to Assume or Reject Executory Contract: _ _
           Rate:




                                   Case 17-33027-pcm13             Doc 51      Filed 12/28/17
